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                      Exhibit 1




                      Exhibit 1
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

ABU SAMURA,                         *
                                    *
              Plaintiff,            *
                                    *
v.                                  * Civil Case No.: 1:20-cv-02095-SAG
                                    *
SAVASENIORCARE ADMINISTRATIVE *
SERVICES, LLC, ET AL.,              *
                                    *
              Defendants.           *
____________________________________/

                     SWORN DECLARATION OF MEGHAN POLLOCK

       1.      My name is Meghan Pollock. I am over the age of eighteen (18) and am competent

to give this sworn declaration. I have personal knowledge of all matters set forth herein.

       2.      I am employed by SavaSeniorCare Consulting, LLC as the Area Manager, Human

Resources. In connection with my employment with SavaSeniorCare Consulting, LLC, I have

become familiar with the contents of the personnel file maintained for Plaintiff by SSC Catonsville.

The documents attached to this Declaration are from that personnel file, which is maintained in

the ordinary course of business by SSC Catonsville.

       3.      When Plaintiff applied for employment with SSC Catonsville, he signed an

Employment Dispute Resolution Program Agreement. Exhibit 1 hereto is a true and correct copy

of that Agreement.

       4.      At the time of his hire by SSC Catonsville, Plaintiff signed an “Employment

Dispute Resolution Program Acknowledgment” in which Plaintiff acknowledged he had received

a copy of the “Employee Dispute Resolution (‘EDR’) Program Booklet.” Exhibit 2 hereto is a

true and correct copy of the Acknowledgment signed by Plaintiff. Exhibit 3 hereto is a true and

correct copy of the EDR Program Booklet received by Plaintiff.

                                                 1
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                      Exhibit 1




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                      Exhibit 2




                      Exhibit 2
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                      Exhibit 3




                      Exhibit 3
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                                                                       Employment
                                                                       Dispute
                                                                       Resolution
                                                                       Book



                One Ravinia Drive
                    Suite 1500
                Atlanta, GA 30346

21999 (01/08)




                                                                       Employment
                                                                       Dispute
                                                                       Resolution
                                                                       Book



                One Ravinia Drive
                    Suite 1500
                Atlanta, GA 30346

21999 (01/08)
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